     Case 4:15-cv-00860-O Document 8 Filed 03/08/16                  Page 1 of 3 PageID 82


                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF TEXAS
                                    FORT WORTH DIVISION

RHIMCO INDUSTRIES, INC.,                          §
                                                  §
v.                                                §    CIVIL ACTION NO. 4:15-cv-00860-O
                                                  §
SENTRY INSURANCE A MUTUAL                         §
COMPANY                                           §

                             MOTION FOR SUMMARY JUDGMENT

        Defendant, Sentry Insurance, A Mutual Company (“Sentry”), files this Motion for Summary

Judgment, seeking summary judgment that Plaintiff’s lawsuit should be dismissed, because as will

be further shown, Plaintiff has already been paid to date by Sentry more than what could possibly

be owed to Plaintiff under the insurance contracts issued by Sentry that are involved in this lawsuit.

In support of this motion, Sentry would show the following:

                                            SUMMARY

                                                  1.

        This lawsuit involves a claim made by Plaintiff, Rhimco Industries, Inc. (“Rhimco”) for theft

losses resulting from a series of break-ins to buildings leased by Rhimco located at 1266 Lakeview,

Midlothian, Texas. As demonstrated in the brief filed in support of this motion, and the evidence

in the Appendixes (Doc. Nos. 9-16) Sentry is filing along with this motion, Sentry would not owe

any further indemnity whatsoever to Rhimco, so that summary judgment in Sentry’s favor,

dismissing Plaintiff’s lawsuit with prejudice, would be appropriate.

                        FACTUAL AND LEGAL GROUNDS FOR MOTION

                                                  2.

        As allowed by Local Rule 56.3 of the Local Rules of the Northern District of Texas, the

MOTION FOR SUMMARY JUDGMENT - Page 1
     Case 4:15-cv-00860-O Document 8 Filed 03/08/16                    Page 2 of 3 PageID 83


factual and legal grounds for this motion are set forth in the brief filed by Sentry in support of this

motion.

                                                   3.

        Based on the evidence on file in this action, the Appendixes filed in support of this motion,

and the authorities contained in the brief (Doc. No. 17) filed in support of this motion, Sentry is

entitled to summary judgment in this matter. All of the matters required by Local Rule 56.3 of the

Northern District of Texas will be set forth in Sentry’s brief filed with this motion.

        For all of the above reasons, as well as those contained in the brief filed in support of this

motion, Defendant, Sentry Insurance, A Mutual Company, prays that this motion be granted in its

entirety, and that the Court issue judgment: (1) that Sentry owes no further indemnity of any kind

to Plaintiff under the insurance policies involved in this lawsuit; (2) dismissing Plaintiff’s lawsuit

with prejudice; (3) awarding Sentry its taxable costs of court; and (4) for such other and further relief

to which Sentry may be entitled, at law or at equity.

                                                        Respectfully submitted,



                                                        /S/Russell J. Bowman
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                                                        ATTORNEY FOR DEFENDANT


                                       CERTIFICATE OF SERVICE

        This is to certify that on March 8, 2016, I electronically filed the foregoing document with

MOTION FOR SUMMARY JUDGMENT - Page 2
     Case 4:15-cv-00860-O Document 8 Filed 03/08/16                  Page 3 of 3 PageID 84


the clerk of court for the U. S. District Court, Northern District of Texas, using the electronic case
filing system of the court. The electronic case filing system sent a “Notice of Electronic Filing” to
the following attorneys of record who have consented in writing to accept this Notice as service of
this document by electronic means: John Lively, Attorney for Plaintiff, Rhimco Industries, Inc..

                                                      /S/Russell J. Bowman
                                                      Russell J. Bowman




MOTION FOR SUMMARY JUDGMENT - Page 3
